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8

9                              UNITED STATES DISTRICT COURT

10                           NORTHERN DIVISION OF CALIFORNIA
11                                          OAKLAND
12
     IMMIGRANT LEGAL RESOURCE CENTER;                Case No. 4:20-cv-05883-JSW
13   EAST BAY SANCTUARY COVENANT;
     COALITION FOR HUMANE IMMIGRANT
14   RIGHTS; CATHOLIC LEGAL                          AMICUS BRIEF IN SUPPORT OF
15   IMMIGRATION NETWORK, INC.;                      PLAINTIFFS’ MOTION FOR
     INTERNATIONAL RESCUE COMMITTEE;                 PRELIMINARY INJUNCTION AND
16   ONEAMERICA; ASIAN COUNSELING AND                PETITION FOR REVIEW AND
     REFERRAL SERVICE; ILLINOIS                      REQUEST FOR STAY
17   COALITION FOR IMMIGRANT AND
18   REFUGEE RIGHTS,                                 DATE: OCTOBER 9, 2020
     Plaintiffs,                                     TIME: 9:00 A.M.
19                                                   COURTROOM: 5, 2ND FLOOR
20   v.
21
     CHAD F. WOLF, UNDER THE TITLE OF
22   ACTING SECRETARY OF HOMELAND
     SECURITY; U.S. DEPARTMENT OF
23   HOMELAND SECURITY; KENNETH T.
     CUCCINELLI, UNDER THE TITLE OF
24
     SENIOR OFFICIAL PERFORMING THE
25   DUTIES OF THE DEPUTY SECRETARY OF
     HOMELAND SECURITY; U.S. CITIZENSHIP
26   & IMMIGRATION SERVICES,
27   Defendants
28   AMICUS CURIAE RECLAIM THE RECORDS
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1                                     STATEMENT OF INTEREST
2

3           Amicus curiae, Reclaim the Records (RTR), is a non-profit activist group of genealogists,

4    historians, researchers, journalists, open government advocates, teachers, and open data users
5    whose mission is to increase public access to genealogical records and historical materials held
6
     in government archives, agencies, and libraries. RTR identifies genealogical record sets
7
     containing information valuable to the public, files requests for the release of records through the
8

9    Freedom of Information Act (FOIA), and then digitizes the records and places them online for

10   the public to access for free. RTR is one of the largest open records organizations in the United
11   States, and has pursued legal action in nine separate lawsuits, recently succeeding in Freedom of
12
     Information suits against such diverse agencies as the United States Department of Veterans
13
     Affairs, the Missouri Department of Health and Senior Services, and the New York City
14

15   Department of Records and Information Services. In addition to making their own records

16   requests, RTR serves as an educational resource and teaches individuals how to effectively make
17   requests for records.
18
            Significant fee increases for historical immigration and naturalization paperwork at the
19
     level described in the Final Rule would prove especially burdensome to the genealogical and
20

21   historian community as a whole, and would directly counteract RTR’s goal of increasing public

22   access to records, as the fees would be cost-prohibitive. RTR therefore supports Plaintiffs’
23   request for a preliminary injunction of a final rule issued by the Department of Homeland
24
     Security (DHS). 85 Fed. Reg. 46788 (Aug. 3, 2020) (“Final Rule”). RTR supports Plaintiffs’
25
     detailed and persuasive legal arguments showing the unlawfulness of the Final Rule. Whereas
26

27   Plaintiffs focused on the significant increase of fees to apply for immigration benefits, RTR as

28   amicus respectfully seeks to offer information relating to the Final Rule’s significant increase of


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1    fees for USCIS' unique “Genealogy Program” that has provided public access to millions of
2
     historical agency files. Specifically, the Final Rule is contrary to law, as it violates the original
3
     genealogical fee statute 8 U.S.C. § 1356(t), and is arbitrary and capricious, as DHS failed to offer
4
     calculations or demonstrate the budgetary necessity of such significant fee increases. RTR
5

6    especially seeks to emphasize the substantial harm the genealogical community—professionals,

7    organizations, individuals, and others—would suffer should the Final Rule take effect. Lastly,
8
     given the weight of importance of the access to historical records, RTR will detail the harm such
9
     a drastic fee increase would cause for the public as a whole.
10

11   I.      INTRODUCTION
12
             The United States Citizenship and Immigration Services (USCIS) not only processes
13
     current immigration applications, but the agency also holds millions of historical records that
14

15
     covers about 150 years of American immigration and naturalization. For example, individuals

16   wanting to learn their family history can access these records and venture beyond merely
17   learning names in a family tree, they can learn the circumstances of how their family members or
18
     other public figures gained or lost their American citizenship. Many of the files USCIS currently
19
     holds provide an abundance of previously unknown details—pictures of great-grandfathers in
20

21
     their youth, signatures on handwritten documents, and other glimpses into the past that create an

22   image of a real person, rather than a name or date of birth. These records include the files of
23   immigrants who came through Ellis Island in the late nineteenth century, as well as refugees who
24
     fled Nazi Germany and Communism in the twentieth century, and many other groups. They also
25
     document the history of America's maltreatment of our naturalized citizens and permanent
26

27   residents. For example, historical USCIS records allowed family members of Raymond Hiroshi

28   Hirai to access a file of over a hundred pages and find in it a picture of Mr. Hirai—who was born


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1    in 1908; documents detailing his height, weight, and occupation as a motion picture actor;
2
     transcripts of government interviews about his internment in a Santa Fe, New Mexico camp for
3
     Japanese Americans during World War II; and his subsequent expatriation to Japan and then
4
     repatriation to the United States.1 No other American government agency would have held all of
5

6    these records, nor in such detail.

7           Despite this, USCIS has now issued a rule increasing its fees drastically—without
8
     offering plausible explanations for such significant increases. Given the history of how USCIS
9
     created this program in the first place, large fee increases especially blindside genealogists and
10
     the public. To briefly summarize, USCIS, as the holder of records2 covering nearly 150 years of
11

12   American immigration and naturalization, naturally received many FOIA requests, which it was

13   mandated to process, as a federal agency. See 5 U.S.C. § 552. In 2008, in response to delayed
14
     processing of the large volume of FOIA requests, DHS established the “Genealogy Program”—a
15
     “fee-for-service” system allowing USCIS to provide historical documents in return for fees, so as
16
     to redirect these requests from personnel handling FOIA and to a streamlined “dedicated queue
17

18   for genealogists and other researchers.” See 8 CFR Parts 103 and 299, 28026–27. Notably, the

19

20

21
     1
22            Records Not Revenue, Examples of the kinds of historical records affected by this
     proposed fee hike: Example A-File (with Alien Registration and Japanese Internment Camp
23   Records) (last visited Sept. 8, 2020), available at https://www.recordsnotrevenue.com/example-
     files/.
24   2
              USCIS is authorized to provide the following records: (1) Immigrant Files [A-files]—
25   official files for all immigration records since April 1, 1994; (2) Alien Registration Forms [AR-
     2]—copies of forms of immigrants residing or entering the United States between April 1, 1940
26   and March 31, 1944; (3) Naturalization Certificate Files [C-Files]—copies of records of various
     naturalizations, among other events; (4) Registry Files—records documenting the creation of
27
     immigrant arrival records for persons who entered the United States before July 1, 1924, but for
28   whom an arrival could not later be found; (5) Visa Files—original arrival records of immigrants
     admitted for permanent residence under Immigration Act of 1924. See 8 CFR 103.39 (May 15,
     2008).
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1    fees charged were reasonable—between $20 and $35. Id. at 28028. Genealogists and other
2
     individuals accessing records then experienced an abrupt shift in 2016, when the fees were
3
     tripled to $65, and set up in a manner requiring many individuals to pay that fee twice. See 85
4
     Fed. Reg. 46792 (Table 7) (describing current fees). Such a large fee increase was burdensome at
5

6    that time, especially for those who needed to request multiple records, and for organizations and

7    individuals performing frequent, in depth genealogical work, such a drastic increase raised
8
     serious concerns about how to continue to use the Genealogy Program.
9
            Now, in a drastic shift, the Final Rule sets genealogical fees at $160-$170 for certain
10
     searches, $255-$265 for others, and will often require both fees just to procure one record. See
11

12   85 Fed. Reg. 46792. Whereas current fees pose difficulties presently, a scenario requiring

13   payment of fees at that level would be untenable for many. Paying steadily increasing fees to
14
     USCIS--an agency that previously provided records at a cheaper rate through FOIA and is now
15
     behind on its retention schedule to transmit documents to another agency who could provide
16
     them to the public at a cheaper rate—is no longer a viable option for many.
17

18          USCIS wants to institute this fee hike on records that the agency itself agrees it should

19   not even possess.3 Many of these records should now actually be residing at the National
20
     Archives and Records Administration (NARA), and they have been subject to a records retention
21
     schedule to transfer them for years. DHS admits as much in their recent comments in the Federal
22
     Register about these fees. However, USCIS has failed to adhere to that schedule and continues to
23

24

25

26

27   3
              In response to numerous comments urging USCIS to fulfill its obligation to transfer the
28   records, DHS acknowledged the failure to adhere to the schedule but stated that operational
     issues delayed transfer. See 85 Fed. Reg. 46837. Then, DHS declined changing the Final Rule in
     light of this.
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1    hold these millions of records overdue for a transfer, which has prevented individuals from
2
     benefitting from free public access for them onsite at the National Archives.4
3
            It is currently USCIS’ position that these historical files are now solely accessible to the
4
     public through its Genealogy Program, and what was originally designed as a faster way to
5

6    process FOIA requests for historical materials is now being treated as the only way for the public

7    to acquire those files at all. Thus, the effect of this dramatic fee increase of hundreds of dollars
8
     should be measured not merely against the previous fee hike of $65 nor the original fee of $20 or
9
     $35, but more properly in relation to the far lower costs if the records were made available
10
     through the regular FOIA processing channel at USCIS, or the completely free onsite access to
11

12   the documents if they were properly de-accessioned to the National Archives.

13
     II.    ARGUMENT
14

15
     A.     The Final Rule is Arbitrary and Capricious As It Fails to Plausibly Account for the
16   Increasing Fees Being Imposed in Relation to Agency Costs
17

18          In discussing the steep fee increase, DHS explains that the Genealogy Program does not
19
     have its own discrete operating budget and expenditures are not tracked, but rather, USCIS must
20
     “estimate the costs of the genealogy program.” 85 Fed. Reg. 46834. DHS explains its failure to
21
     track expenditures by explaining that the Genealogy Program is located within the National
22

23   Records Center, where FOIA operations, as well as maintaining, storing, and moving records

24   occurs. Id. In explaining why costs rose so dramatically, DHS stated that for Fiscal Year
25

26

27   4
              In response to numerous comments urging USCIS to fulfill its obligation to transfer the
28   records, DHS acknowledged the failure to adhere to the schedule but stated that operational
     issues delayed transfer. See 85 Fed. Reg. 46837. Then, DHS declined changing the Final Rule in
     light of this.
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1    2016/2017, it underestimated the cost of the staff required to process requests in the Genealogy
2
     Program. Id. DHS claims that it made this discovery in the next budgetary year, when DHS had
3
     incorporated the Genealogy Program into the National Records Center (NRC). Id. DHS claims
4
     that following the incorporation, USCIS was then able to “revise its cost estimation methodology
5

6    to incorporate a proportional share of the NRC’s operating costs based on the staffing devoted to

7    the genealogy program,” and from this sprung the proposed fees. Id. DHS is both attempting to
8
     sort through staffing costs between the Genealogy Program and the NRC, but also states that it
9
     cannot track expenditures and create a budget because of how the program operates alongside
10
     others at the NRC. DHS’s failure to provide more details about its calculations is especially
11

12   arbitrary and capricious in the present situation, in which the agency seeks to increase fees by

13   hundreds of percentages.
14
     B.     The Final Rule is Contrary to Law as DHS Misinterprets the Genealogical Fee
15   Statute and Charges Individuals for Fees Beyond Those Statutorily Authorized
16
     The Genealogy Fee established by federal statute allows fees for “genealogy and information
17

18   services” to be set “at a level that will ensure the recovery of the full costs of providing all such

19   services.” 8 U.S.C. § 1356(t). In the Final Rule, DHS describes its genealogical services, for
20
     which it can charge user fees, including the (1) direct costs of identifying records and manually
21
     reviewing them in compliance with privacy statutes and (2) overhead costs of storing and
22
     managing the records. See 85 Fed. Reg. 46836. Under DHS’s reading of the statute, many of the
23

24   fees USCIS accrued in compliance with FOIA—storing, maintaining, reviewing records for

25   privacy concerns—are now under Genealogy Fees, as records requests were redirected away
26
     from the slower FOIA channel. This distinction is crucial, as Genealogy Fees now soar into the
27
     hundreds of dollars. In comparison, FOIA allows individuals to access public records and only
28


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1    pay a search and copy fee with fee waivers available,5 and in practice more modern A-Files are
2
     actually provided free through USCIS. Before the Genealogy Program was implemented,
3
     USCIS, as a federal agency, was responsible for keeping its records, paying staff to review them
4
     for privacy concerns, and handling FOIA requests. The plain language of the statute describing
5

6    “genealogy and information services,” 8 U.S.C. § 1356(t), does not support charging individuals

7    for services such as storage which USCIS already was obligated to do.
8
            When it developed the Genealogy Program, DHS stated that the Office of Budget and
9
     Management directs agencies that are collecting user fees to include various additional costs in
10
     the calculation of fees, such as management and personnel costs and overhead. See 8 CFR Parts
11

12   103 and 299, 28028. However, Genealogy Fees were low for many years. It is also unclear from

13   DHS’s rules whether the savings that USCIS enjoys from not directing resources to FOIA has
14
     then been calculated into its cost estimates overall. For instance, if USCIS is able to spend less
15
     money on FOIA, but then directs resources to the Genealogy Program, which users fully
16
     reimburse, then charging such hefty fees strips the public of both the benefits established by the
17

18   Genealogy Program, as well as FOIA.

19          Additionally, the Office of Budget and Management’s provisions, as the agency notes, do
20
     not trump statutes, and they must be applied in accordance with the law. To the extent that
21
     USCIS attempts to collect user fees under regulatory directives, it would also need to heed the
22
     requirements to proper collection of user fees, which include maintaining records of “the
23

24   information used to establish charges and the specific method(s) used to determine them,” as

25

26

27
     5
28            U.C. Citizenship and Immigration Services, Freedom of Information Act Request Guide
     (July 10, 2019), available at
     https://www.uscis.gov/sites/default/files/document/guides/USCIS_FOIA_Request_Guide.pdf.
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1    well as “the collections from each user charge imposed.”6 As noted, DHS has both imposed
2
     significant fees while also failing to properly document their costs nor explain why those costs
3
     have skyrocketed since 2008.
4

5
     C.    Fee Increases to This Level Will Have Serious Financial Implications that Will
     Prohibit Many Individuals, Professionals, and Organization from Being Able to Access the
6    Records
7
            Numerous individuals and organizations provided comments to DHS detailing the
8

9    widespread harm to individuals, organizations, and community education as a whole should DHS

10   begin to charge such high fees. In response, DHS briefly responded that these cost estimates
11
     reflected the amount needed for USCIS to continue to provide genealogical services. See 85 Fed.
12
     Reg. 46586. On a direct level, the harm is quite apparent. Any individual or organization seeking
13
     a record from USCIS will now pay hundreds of dollars more to access the records, even if the
14

15   result may be just two sheets of paper. The specific dollar amount will vary based on the request

16   as some individuals' files require copies of multiple types of records, and some individuals will
17
     need to use multiple searches.
18
            Doubling, tripling, or quadrupling fees every four years undercuts the purpose of
19
     providing a Genealogy Program at all, and it starkly contrasts with the spirit of the program at its
20

21   creation. With the new fees, many individuals simply would not have the means to spend

22   hundreds of dollars to procure records from USCIS, and DHS is aware of the significant number
23
     of individuals that use the Genealogy Program to obtain records. See id. at 46899. At the onset of
24
     the Genealogy Program in 2008, DHS examined the economic impact of implementing a
25

26

27

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     6
             OMB Circular No. A–25 (Revised), available at https://www.whitehouse.gov/wp-
     content/uploads/2017/11/Circular-025.pdf (last visited Sept. 8, 2020).
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1    Genealogy Program and described the increase in engagement in genealogy among the general
2
     community, with many individuals searching for records themselves as records became more
3
     accessible with Internet. See id. at 28029. DHS implemented the Genealogy Program with this in
4
     mind and anticipated that not only would it redirect many FOIA requests, but it would also
5

6    increase overall requests for records as more individuals completed their own record searches as

7    discrete projects or as part of longer-term research. Id. DHS also considered the impact of the
8
     creation of the program for professional genealogists, as DHS needed to consider whether
9
     creating its own service would economically damage business owners. After speaking with many
10
     professional genealogists and researchers, DHS concluded that individuals using their services
11

12   often did so in more complex cases after they had already become stuck in their own searches.

13   See 8 CFR Parts 103 and 299, 28029. DHS then created its own Genealogy Program after
14
     deciding that it would not divert business from a group of professionals, and notably, DHS also
15
     provided reassurance that fees from its program would not hurt professional genealogists either,
16
     as they would simply add those on as an expense, charging their clients. Id.
17

18   However, with this new Final Rule, DHS did not even attempt to estimate the magnitude of the

19   harm to the businesses of thousands of professional genealogists, historians, and researchers who
20
     depend on being able to access these government records at a fee their clients will be able and
21
     willing to absorb. One of our board members at RTR, a professional genealogist who works with
22
     high-profile clients, estimates that his client work alone accounted for approximately 1.5% of the
23

24   Genealogy Program's annual revenue in 2019, and that raising these fees to their new level

25   would be devastating to his ability to continue to provide the same work to his clients at a
26
     reasonable cost.
27
            At its creation and for years after, the Genealogy Program was a highly accessible and
28
     reasonable program, charging an individual $20 or $35 for a record and providing a more
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1    streamlined process so that individuals could pay a small fee and receive public records quickly,
2
     while USCIS could now use its FOIA personnel for other tasks. With the implementation of the
3
     Final Rule, individuals, professionals, researchers, journalists, and many others will no longer be
4
     able to use the Genealogy Program with fees having risen hundreds of dollars more. This will
5

6    fundamentally transform the public records—available, but not accessible.

7    D.     Making Historical Immigration Records Inaccessible Through Significant Fee
8    Increases Causes Overall Harm to Societal Interests

9
     While large fee increases will harm individuals, professional genealogists, organizations,
10
     scholars, and many others, it will also effect broader communities and national values. Among
11

12   the many record sets that USCIS holds, almost any late-nineteenth or twentieth-century

13   immigrant (pre-1951) would likely appear in these records.7 The many Americans who are
14
     family members of this particular set of immigrants may lack connection or knowledge of their
15
     family history and how it may relate to modern immigration and national policy. As the United
16
     States presently has approximately 40 million immigrants, or more than any other country in the
17

18   world, 8 national unity is strengthened and common ground is formed when public records such

19   as these are accessible and individuals can learn about their families’ immigration story.
20
     Strengthening, rather than weakening, public access to historical immigration and naturalization
21
     files could even have a salutary effect on USCIS' own rule-making. For example, a living
22
     descendant of an unemployed widow and her minor child who were detained for special inquiry
23

24

25

26   7
             Also, any immigrant who arrived on or after July 1, 1924 will appear, among others.
     Records, Not Revenue, What are UCSIC Genealogy Program Records & Why Should I Care,
27
     available at https://www.recordsnotrevenue.com/uscis/ (last visited Sept. 8, 2020).
28
     8
              Pew Research Center, Key Findings About U.S. Immigrants (Aug. 20, 2020), available
     at https://www.pewresearch.org/fact-tank/2020/08/20/key-findings-about-u-s-immigrants/.
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1    at Ellis Island as a “Likely Public Charge” but whose family were released and went on to lives
2
     of respectable American citizenship, might be more disinclined to resurrect the Likely Public
3
     Charge doctrine today, had he better knowledge of his own family's experience with the policy.9
4
     DHS states that it “recognizes the importance of genealogical records and the connections they
5

6    provide to immigrant ancestors,” 85 Fed. Reg. 46836, yet DHS fails to account for fee increases

7    that directly impede access these valuable records.
8
            Given the significant value that the records hold for both individuals and the public as a
9
     whole, DHS’s arbitrary spike of fees without sufficient explanation and demonstration of its
10
     necessity, nor the provision of breakdown of the program's existing actual costs, is in direct
11

12   opposition to the public interest, and furthers demonstrates the arbitrary nature of their actions

13   and the need to enjoin the final rule.
14

15   III.   CONCLUSION

16
            For these reasons, amicus curaie respectfully urges the Court to grant Plaintiffs’ Motion
17
     for Preliminary Injunction and Petition for Review and Request for Stay.
18

19   Dated: September 10, 2020
            Los Angeles, CA
20
                                                    Respectfully summitted,
21

22                                            By:_________/s/______________________
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                                                    Los Angeles, CA 90010
25

26

27
     9       Jennifer Mendelsohn, Their Own Two Feet (Aug. 30, 2019), discussing the Cuccinelli
28   family history, available at https://medium.com/@CleverTitleTK/their-own-two-feet-
     8ddd1dbb1602 .
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1                                     CERTIFICATE OF SERVICE
2
             I, Matthew Strugar, hereby certify that on September 10, 2020, the foregoing document was
3    filed and served through the CM/ECF system.

4    DATED: September 10, 2020
                                                /s/ Matthew Strugar
5                                         _____________________________
                                                    Matthew Strugar
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